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AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
District of Georgia

Case Number: 1:22-CV-670-WMR

Plaintiff: Robert (Bob) Formby, on behalf of himself and all others
similarly situated

vs.

Defendant: Deloitte & Touche, LLP and Deloitte, LLP

For:

C. Mark Warren
Warren & Griffin, PC
300 West Emery
Suite 108

Dalton, GA 30720

Received by Ancillary Legal Corporation on the 21st day of February, 2022 at 10:43 am to be served on
Deloitte, LLP c/o Corpoation Service Company, Registered Agent, 2 Sun Court, Suite 400, Peachtree
Corners, GA 30092.

|, Christopher Todd Horton, being duly sworn, depose and say that on the 21st day of February, 2022 at
12:23 pm, |:

served Deloitte, LLP c/o Corpoation Service Company, Registered Agent by delivering a true copy of
the Summons in a Civil Action, Class Action Complaint, Exhibit A - B to: Corpoation Service
Company as Registered Agent, BY LEAVING THE SAME WITH Diane Beams as Authorized to accept
at the address of: 2 Sun Court, Suite 400, Peachtree Corners, GA 30092.

Additional Information pertaining to this Service:
2/21/2022 12:23 pm Perfected corporate service at 2 Sun Court Suite 400, Peachtree Corners, GA 30092,
by serving Diane Beams, Firm Administrator.

White female, Light brown hair, ~5’6”, ~180 Ibs, ~60 years old, Wears glasses.

| am an agent of Ancillary Legal Corporation and am competent in all respects to testify regarding the
matters set forth herein. | have personal knowledge of the facts stated herein and know them to be tru
have no interest in the outcome of this action and am not related to any of the parties. | am 18-0rt m

years of age and am authorized to serve process. —— BE

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. Christopher Todd Horton

Subscribed and Sworn to before me on the Al“ __-—Process Server

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Ancillary Legal Corporation

 

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NOTARY PUBLIC Atlanta, GA 30341
(404) 459-8006
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